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                                                                             FILED
 1    JUSTIN S. BECK                                                           JAN O9 2023
      3501 ROSELLE ST.
 2    OCEANSIDE, CA 92056                                                CLERK U.S. DISTRICT COURT
      760-449-2509                                                    SOUTHERN DISTRICT OF CALIFORNIA
 3                                                                   av                         DEPUTY
      justintimesd@gmail.com
 4    In Pro Per + Guardian Ad Litem
 5                                  UNITED STATES DISTRICT COURT
 6                                             FOR THE
 7                              SOUTHERN DISTRICT OF CALIFORNIA
 8
                                                        CaseNo.: 3:22-CV-01616-BAS-DDL
 9    JUSTIN S. BECK, individually, and
      as guardian ad !item to ROES 1-150,000, and
10    as guardian ad !item to U.S.A.                    DECLARATION OF JUSTIN S. BECK IN
                                                        SUPPORT OF EX PARTE APPLICATION
11                                                      FOR TEMPORARY RESTRAINING ORDER
                       Plaintiff,
12                                                      Filed Concurrently With:
13
      CATANZARITE LAW CORPORATION;                             1) Ex Parte Application for Temporary
14                                                             Restraining Order
      STATE OF CALIFORNIA; THE STATE BAR
15    OFCALIFORNIA;ORANGECOUNTY                                2) Exhibits in Support of Application for
      SUPERIOR COURT; ORANGE COUNTY                            Temporary Restrarning Order, Summary
16    DISTRICT ATTORNEY'S OFFICE; RUBEN                        Judgment Motion, and Trial
17    DURAN, ESQ.; SUZANNE CELIA GRANDT,
      ESQ.; RICHARD FRANCIS O'CONNOR, JR.;
18    MOHAMMED ZAKHIREH; JAMES DUFFY;
      KENNETH CATANZARITE, ESQ.; JIM
19    TRAVIS TICE, ESQ.; NICOLE MARIE      ~
20    CATANZARITE WOODWARD, ESQ.;
      BRANDON WOODWARD, ESQ.; TIM JAMES
21    O'KEEFE, ESQ.; AMY JEANETTE COOPER; )
      CLIFF HIGGERSON; JAMES DUFFY, ELI    )
22    DAVID MORGENSTERN, ESQ.; LEAH        )
23    WILSON, ESQ.; ROBERT GEORGE RETANA,~)
      ESQ.; ELLIN DAVTYAN, ESQ.; JOHN C.
24    GASTELUM; JORGE E. NAVARETTE;
      GEORGE SARGENT CARDONA, ESQ.;        ~
25
      ANTHONY B. SCUDDER                   )

                                                    ~
26.
                       Defendants,
27



                                                    ~
28


                                                    1                           22-CV-1616-BAS-DDL
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                                           ~)
 1   ATTORNEY GENERAL OF THE UNITED
     STATES; STATE OF CALIFORNIA; UNITED
 2   STATES OF AMERICA:
                                           )

                                           ~
 3
                   Nominal Defendants

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                                            2               22-CV-1616-BAS-DDL
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     1   DECLARATION OF ,UJSTTN S, BECK TN SIJPPOBT OF APPLICATION FOB TEMfOBABY
 2                                              RESTRAINING ORPEB
 3             I, Justin S. Beck, declare as follows:

 4         1. I am over the age of 18, I am Plaintiff in this action and two related cases I removed to Central

 5            District, Southern Division of U.S. District Court from Orange County Superior Court (OCSC

 6            Case No. 30-2021-01237499 and OCSC Case No. 30-2020-01145998) on January 5, 2023, related
 7            to the same facts and circumstances. I have shown several Court of Appeal rulings in my first

 8            amended complaint where I am likely to prevail on the merits of at least some of my claims, here.
 9         2. I have personal knowledge of all facts stated in this declaration, the authenticity of exhibits and
IO            copies, and if called to testify, I could and would competently testify thereto.

11        3. On Saturday, January 7, 2023, I sent email "Notice of Federal TRO and Constructive Fraud RE:

12            January 6, 2023 Finance Hearing" to joan.randolph@calbar.ca.gov, ruben.duran@calbar.ca.gov,
13            AGelectronicservice@doj.ca.gov            rob.bonta@doj.ca.gov          Efile.dkt.civ@usdoj.gov
14            hailyn.chen@mto.com        ,   eli.morgenstern@calbar.ca.gov     ,   ellin.davtyan@calbar.ca.gov
15            rnichael.redding@calbar.ca.gov , CFO@calbar.ca.gov , louisa.ayrapetyan@calbar.ca.gov ,
16            brady.dewar@calbar.ca.gov , carissa.andresen@calbar.ca.gov . george.cardona@calbar.ca.gov .
17            which are the email addresses for: Joan Randolph as Legal Secretary in Office of General Counsel
18            for The State Bar of California, Ruben Duran as Chairman of Board of Trustees for The State Bar
19            of California, Attorney General for State of California (E-Service), Rob Bonta as Attorney General
20            for State of California, U.S. Attorney's Office for Southern District of California, Ellin Davtyan
21            as General Counsel for The State Bar of California, Eli David Morgenstern as Senior Trial Counsel
22            for The State Bar of California, Michael Redding as Assistant Attorney General for State of
23            California, Aracely Montoya-Chico as CFO for The State Bar of California, Louisa Ayrapetyan as
24            Principal Program Analyst for The State Bar of California and as Contact for CFO respecting the
25            January 6, 2023 finance hearing, Carissa Andresen as Office of General Counsel for The State Bar
26            of California, Brady Dewar as Office of General Counsel for The State Bar of California, and
27            George Cardona as Chief Trial Counsel for The State Bar of California as follows:
28


                                                           3                             22-CV-1616-BAS-DDL
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     1
         Notice of Federal TRO and Constructive Fraud RE: January 6, 2023 Finance Hearing
 2
         Justin Beck <justintimesd@gmail.com>                                                          Sat, Jan 7, 2023 at 12:07 PM
         To: "Randolph, Joan" <Joan.Randolph@calbar.ca.gov>, "Duran, Ruben" <Ruben.Duran@calbar.ca.gov>, "Retana, Robert"
 3       <robert.retana@calbar.ca.gov>
         Cc: agelectronicservice@doj.ca.gov, rob.bonta@doj.ca.gov, Efile.dkt.civ@usdoj.gov, hailyn.chen@mto.com, "Morgenstern,
 4       Eli" <Eli.Morgenstern@calbar.ca.gov>, "Davtyan, Ellin" <Ellin.Davtyan@calbar.ca.gov>, Michael Redding
         <michael.redding@doj.ca.gov>, CFO@calbar.ca.gov, Louisa.ayrapetyan@calbar.ca.gov, "Dewar, Brady"
 5       <Brady.Dewar@calbar.ca.gov>, "Andresen, Carissa" <Carissa.Andresen@calbar.ca.gov>, george.cardona@calbar.ca.gov

 6        CC: United States Attorney General, California Attorney General and Senate Judiciary Committee

          ATTN: Board of Trustees for The State Bar of California and Office of General Counsel
 7
          Mr. Duran,
 8
          I'm writing to notice you of a forthcoming TRO and motion for preliminary injunction in federal court that I'm filing on behalf
 9        of the United States derivatively under 15 U.S.C. Section 1 and 18 U.S.C. Section 1962(d). Here we have more of the
          "five layer chess game" at issue.
10
          PARTIAL GROUNDS FOR TRO AND EXTRAORDINARY RELIEF FOR THE UNITED STATES
11        - The State Bar of California has had, since October 14, 2021, a preservation of evidence letter from me confirmed by
          Carissa Andresen in May 2022.
12
          - On December 28, 2022 - defendant ROBERT RETANA sought to waive service in 22-CV-01616-BAS-DDL by appearing
13        on behalf of LEAH WILSON, SUZANNE GRANDT, and ELI DAVID MORGENSTERN. Overtly, due to the January 6, 2023
          finance meeting, RUBEN DURAN was not among the waivers.
14
          - I have rejected those waivers as being violative of ABA 1.7, also because each of you are charged with felonies. You will
          each be served by the U.S. Marshal.
15
          - The Office of General Counsel is prohibited from using licensee funds to defand individuals against felony charges and
16        U.S. Southern District of California only allows appearance by attorneys of "good moral character" who are licensees of
          The State Bar of Californla. Each of you will have to obtain your own counsel on your own dime, or you'll have to
17        represent yourselves in three federal cases (including two removed from OCSC) also lacking disclosure to the public.

          - This is the first of several formal notices that I'm moving for a TRO under F. R. 65 on behalf of the United States
18        derivatively in 3:22-CV-01616-BAS-DDL for which you'll receive a copy and the cause in good faith. In support, I am
          showing proof of the foregoing events, the lack of disclosure, and the ongoing carrying on of criminal conduct of
19        yourselves in conspiracy with The State Bar of California{1 ), and with Catanzarite Law Corporation. My record is
          overwhelming, and will form the basis of my request to advance a trial date, preliminary injunction hearing, and
20        forthcoming motion for summary judgment under F. R. 56.

21        Sincerely,

          Justin S. Beck
22        Individual Plaintiff
          Guarc/ian Ad utem to ROES 1-150,000
23        Guardian Ad Litem to United States of America

24       (1) Webster v. Omni/nm Int'/, 79 F.3d 776, 787 (9 th Cir. 1996) (quoting with approval Ashland Oil, Inc. v.
25       Arnett, 875 F.2d 1271 (ih Cir. 1998), for the proposition that "intracorporate conspiracies ... threaten RICO's
         goals of preventing the infiltration of legitimate businesses by racketeers and separating racketeers from their
26       profits.")

27
28


                                                                       4                                   22-CV-1616-BAS-DDL
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     1    4. On Sunday, January 8, 2023, I delivered the same letter to kcatanzarite@catanzarite.com ,
     2       ncatanzarite@catanzarite.com           jtt@tice.lawyer         bwoodward@catanzarite.com
     3       tokeefe@catanzarite.com , bphillips@catanzarite.com , hle@catanzarite.com , which constitute
 4           the emails for all attorneys associated with Catanzarite Law Corporation, and known staff.
 5       5. On Sunday, January 8, 2023, I delivered a copy of my application for a temporary restraining order,
 6           a copy of this declaration, and offered to make available any exhibit upon request, all known to
 7           each of the foregoing parties in related proceedings as being served formally, or reasonably known
 8           due to my confirmed preservation of evidence letter October 14, 2021 (Exhibit 131, pp. 2-5).
 9       6. On Sunday, January 8, 2023, I left voicemail for Joan Randolph, Legal Secretary for Office of
10           General Counsel for The State Bar of California notifying Office of General Counsel, Ellin
11           Davtyan, Suzanne Grandt, and Robert Retana of my ex parte application at the phone number
12           (415) 538-2186.

13       7. On Sunday, January 8, 2023, I left voicemail at Catanzarite Law Corporation notifying Kenneth
14           Catanzarite, Brandon Woodward, Jim Travis Tice, Tim James O'Keefe, and Nicole Marie
15          Catanzarite Woodward ofmy ex parte application at the phone number (714) 520-5544.
16       8. On Sunday, January 8, 2023, I left voicemails at Office of Chief Trial Counsel for The State Bar
17          of California for George Cardona (X1015) and Eli Morgenstern (Xl334) notifying them ofmy ex
18          parte application at the phone number (213) 765-1000.
19       9. On Sunday, January 8, 2023, I left voicemail for Chairman of board of trustees for The State Bar
20          of California, Ruben Duran, notifying him of my ex parte application at his Best Best & Krieger
21          phone number (213) 787-2569.

22       10. On Sunday, January 8, 2023, I tried to leave a voicemail for Hailyn Chen at MTO, who is among
23          Board of Trustees for The State Bar of California, notifying her of my ex parte application at
24          Munger Tolles & Olson at the phone number (213) 683-9548, then I tried (213) 683-9100. Both
25          appear to have blocked my cell number from receiving inbound calls.
26       11. On Sunday, January 8, 2023, I submitted a form to Office of Governor for State of California
27          concerning the sole individual relief I requested in my application as being money judgment for
28          the converted Side A coverage owed me which would not have happened but for violations of 15


                                                        5                            22-CV-1616-BAS-DDL
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 I          U.S.C. § I andN.C. State Bd. ofDental Examiners v. Fed. Trade Comm'n, 574 U.S. 494, (2015).

 2          This was intended to supplement my notices to Office of Attorney General.

 3     12. On Sunday, January 8, 2023, I submitted a form to KPMG where Aracely Montoya-Chico, who

 4          led the Finance Meeting on January 6, 2023 for The State Bar of California lacking disclosure in

 5          her capacity as CFO for The State Bar of California, was notified of my ex parte application.

 6     13. On Sunday, January 8, 2023, I delivered copies of my application and declaration in support to the

 7          foregoing parties, all defendants, copying U.S. Attorney's Office requesting their written or oral

 8          position by 5PM PST on Monday, January 9, 2023.

 9     14. I am not including any written or oral position in these papers as I "should not be required to inform

10          the opposing party or the opposing party's attorney" because all I'm requesting is that the attorneys

11          each conform to the law and Court rules on behalf of the United States derivatively, where they

12          have previously refused to do so. Demand upon each of them is futile without a Court order.

13     15. For the extraordinary relief of $1.282 million in converted Side A policy fees paid to the enterprise

14          to my detriment, I've previously requested that relief and served it before my hearings were

15          deliberately compromised by the conduct at issue in Fourth District, Division Three and in Orange

16          County Superior Court. As proof of the amount outlined in my original complaint, I requested

17          details on depletion of my asset from Nationwide in July 2022 (and added additional costs I've

18          incurred) thereby totaling $1.282 million. I've shown RICO conspiracy on my application and

19          proof, and the amount of $1.282 million is owed to me by antitrust violations from State of

20          California that I should not have suffered and would not have suffered but for the violations.

21   On Sat, Jul 30, 2022 at 11:13AMKlass.Aaron<~@nationwide.com> wrote:

     · Justin,
22
       We have paid a total of $1,268,036.89 out of the $2 mllllon policy. Additional defense costs have been incurred against the policy
23

24    · Regards,

25
                                                 Aaron Klass, Esq.
                                                 Senior Claims Specialist
26
                      Nationwide'                Management liability & Specialty Claims
                         is on your side
27                                               614-427-4372
                                                 a.klass@natjopwlde.com

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                                                                          6                                 22-CV-1616-BAS-DDL
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     I    16. I have spent not less than 40 hours per week on my Government Claims Act litigation against State
     2       of California since October 14, 2021 now seeking more than $100,000,000 payable to United
     3       States of America under 15 U.S.C. § I, but the extraordinary relief I'm requesting through my
 4           application personally only reflects those fees converted through fraudulent litigation filed and
     5       carried on, commencing September 14, 2018, that was paid to licensees of The State Bar of
 6           California defending Catanzarite Law Corporation schemes to defraud.
 7       17. The State of California is aware of all relief I'm requesting generally since they were served eight
 8           times in writ proceedings and in Orange County Superior Court before I removed OCSC Case No,.
 9           30-2021-01237499 and OCSC Case No. 30-2020-01145998 to Central District, Southern Division
10           on January 5, 2023. The State of California has never opposed any proceeding; indeed, The State
11           Bar of California has only appeared for itself and its individual actors defending fraud and
12           corruption for itself and its individual actors which impute liability to State of California. Service
13           on the State of California has been futile, thus requiring the extraordinary relief on my application.
14       18. Notice should not be required on my application because I've proven beyond reasonable doubt
15           that The State Bar of California is an unlawful trust which restrains interstate commerce and harms
16           U.S. citizens, and I'm moving for relief by way of temporary restraining order requesting that
17           attorneys conform to the law, Civil Rules, and Local Rules which means no party is prejudiced.
18       19. Notice should not be required on my application because I've shown deliberate obstruction of
19          justice by a government protection agency that is bound by law not to advance the interests of
20          licensees, but they continue to do so under artificial "discretion" and irrelevant decisional law.
21       20. Notice should not be required on my application because Office of General Counsel proclaimed
22          the United States Constitution to be "irrelevant" in Orange County Superior Court, specifically the
23          Fifth and Fourteenth Amendments, which violations constitute irreparable harm to me and the U.S.
24       21. I ask this Court order U.S. Marshals perform expedited service ofmy first amended complaint and
25          summons at the expense of the United States because I am unduly prejudiced and cannot obtain
26          legal counsel due to the conduct I seek to stop on behalf of the United States derivatively (pleading
27          demand futility). My claims under 15 U.S.C. § 1 are likely to prevail, and I have been unable to
28          reach anyone at U.S. Attorney's Office due to apparent control of the enterprise in California.


                                                          7                             22-CV-1616-BAS-DDL
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     1    22. On behalf of the United States of America derivatively, I ask this Court order attorney defendants
     2       in this case adhere to AB 3249, the Civil Rules and Local Rules as detailed in my application for
     3       a temporary restraining order because violations by each constitute violations of 15 U.S.C. § !,
 4           N.C. State Ed ofDental Examiners v. Fed Trade Comm'n, 574 U.S. 494, (2015).
 5       23. On behalf of the United States of America derivatively, I ask this Court ensure that the instant case
 6           is associated with recently removed cases OCSC Case No. 30-2021-01237499 and OCSC Case
 7           No. 30-2020-01145998 where Catanzarite attorneys, State of California, and The State Bar of
 8           California are also defendants, and the conduct of which I complain continues there, too.
 9       24. I conform in all material respects with this Honorable Court's standing order for civil cases
10           effective February !, 2022, on ex parte applications and Local Rule 83.3(g), and maintain that
11           meeting and conferring with parties engaged in this conduct is futile where they act as if the
12           conduct is legal or reasonable with ongoing impunity.
13       25. I have been subject to a four-year ongoing scheme to defraud me and non-attorneys carried on by
14           The State Bar of California involving malicious prosecution of at least five lawsuits or cross-
15           actions, wire fraud, mail fraud, money laundering, obstruction of state justice, obstruction of
16           federal justice, obstruction of federal proceedings, and deliberate disregard of the United States
17           Supreme Court by Suzanne Grandt, Robert Retana, Jorge Navarette, and potentially retiring Chief
18           Justice Tania Cantil Sakauye of California Supreme Court (unless Navarette fraudulently signed
19          orders on September 27, 2022 to strike my antitrust petition S276517, and subsequently signed an
20          "En Banc" decision that was made November 30, 2022 on a petition I did not authorize nor file).
21       26. I filed exhibits in support of my application for temporary restraining order which I also offer in
22          support of a forthcoming summary judgment motion and for swift trial by jury if my motion fails.
23          I include a table describing the exhibits.
24       27. I have shown, and researched, that any attorney who speaks out against the racketeering I've
25          learned of faces collateral attack by "State Bar Court" or by frivolous prosecution through district
26          attorneys controlled by the enterprise. I offer Ex. 1, Ex. 2 and the story of "DOE" in my first
27          amended complaint as a showing that this is more likely true than not true.
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 I    28. As further showing of irreparable hann to me and other United States citizens like me, I offer my

 2       police report to Anaheim PD, their deliberate disregard ofme, Orange County District Attorney's

 3       deliberate disregard of me despite the overwhelming evidence presented them, and the innnediate

 4       response by Anaheim PD to my notice that I intended to perform a lawful citizen's arrest of

 5       Kenneth Catanzarite for acutely threatening, continuing criminal racketeering carried on by The

 6       State Bar of California and Orange County District Attorney's Office. Exhibit 127.

 7    29. I show that Orange County District Attorney's Office, whose jurisdiction includes Catanzarite Law

 8       Corporation of Anaheim, California, is subject of civil rights investigations by United States

 9       Department of Justice in Exhibit 126. I show key staff has been found to conceal evidence in

10       murder investigations in Exhibit 47 and engage in conspiracy with law enforcement to commit

11       Fourteenth Amendment violations and extortion for evidence, which I show is a pattern of

12       enterprise racketeering activity. I show that Orange County Superior Court is subject of more than

13       two predicate acts ofracketeering (convictions) in 2017 by clerks. Exhibit 13.

14    30. I declare under penalty of perjury under the laws of the United States that the foregoing is true and

15       correct and that this declaration was executed on Sunday, January 8, 2023.

16
17                                       Signature:

18                                       Printed Name:

19                                       Address:

20                                       Address:

21                                       Phone Number:

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                                                        9                            22-CV-1616-BAS-DDL
